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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 JOSEPH LONGO, JUSTIN LONGO,
 LOIS SPATZ, EAVEN SPATZ, RAINA
 POMEROY and MAXWELL NASSAR,
 individually and on behalf of all others
 similarly situated,                      CASE NO.: 8:20-cv-02651-KKM-TGW

       Plaintiff,

 v.

 CAMPUS ADVANTAGE, INC. and
 BYL COLLECTION SERVICES,

       Defendants.


         PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY


       Plaintiffs, Joseph Longo, Justin Longo, Lois Spatz, Eaven Spatz, Raina

Pomeroy and Maxwell Nassar, by and through the undersigned attorney, hereby

respectfully submit this Notice of Supplemental Authority regarding Plaintiffs’ Motion

to Compel Discovery Responses from Defendant, Campus Advantage, Inc. (Doc. 36).

Plaintiffs brings to the Court’s attention an order entered on March 30, 2021, by Judge

Julie S. Sneed in Justin Lawrence v. FPA Villa Del Lago, LLC and John Doe Defendants 1-

10, No. 8:20-cv-01517-MSS-JSS (M.D. Fla. March 30, 2021) and attached hereto as

Exhibit “A”. The decision is relevant to this matter as several of the discovery requests

at issue in this matter are identical to those the Court considered in Lawrence. A copy
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of Plaintiff’s Motion to Compel Discovery from Lawrence is also attached hereto as

Exhibit “B”, specifically, please see:

         Interrogatory No. 3 : Identify each person who paid the costs of room, board,

         and fees for and on behalf of students residing in Defendant’s Florida “campus

         living” complexes for the Spring 2020 semester who moved out prior to the

         completion of the semester because of school closures relating to COVID-29.

         a. Also please state the amount of room, board and fees paid and the date of

            move out.

         b. If you contend that a full response to this interrogatory is impossible, please

            explain why, with specificity, and provide the most complete response

            possible.

GRANTED in part to the extent these requests seek discovery as to the property at

issue;

         Interrogatory No. 4: Identify all persons responsive to Interrogatory #3 who

         were billed after their move out date.

GRANTED in part to the extent these requests seek discovery as to the property at

issue;

         Interrogatory No. 5: Identify each person (including present or former third-

         parties, officers and/or employees) who were responsible for making the

         decision to refuse to release persons from their lease obligations as a result of

         COVID-19 school closures.

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GRANTED in part to the extent these requests seek discovery as to the property at

issue;

         Request for Production No. 1 GRANTED in part stated: The complete

         database tables showing all people who paid the costs of room, board, and fees

         for and on behalf of students residing in Defendant’s Florida “campus living”

         complexes for the Spring 2020 semester who moved out prior to the completion

         of the semester because of school closures relating to COVID-19.

GRANTED in part to the extent these requests seek discovery as to the property at

issue;

         Request for Production No. 2: Any and all documents which memorialize all

         communications with “Class Members” regarding COVID-19.

GRANTED in part to the extent these requests seek discovery as to the property at

issue;

         Request for Production No. 7: Internal memoranda, bulletins, committee or

         teams reports, emails, meeting minutes, or other documents created or modified

         within the “relevant time period” concerning or relating to COVID-19 and

         school closures.

GRANTED in part to the extent these requests seek discovery as to the property at

issue;




                            CERTIFICATE OF SERVICE
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      I HEREBY CERTIFY that on April 8, 2021, I electronically filed the foregoing

with the Clerk of Court using the Court’s CM/ECF system, which will automatically

send electronic notification and a copy of such filing to the following counsel of record.



                                         Respectfully Submitted,

                                         /s/ Amanda J. Allen, Esq.
                                         Amanda J. Allen, Esquire
                                         Florida Bar No. 0098228
                                         William “Peerce” Howard, Esquire
                                         Florida Bar No. 0103330
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                                         Attorneys for Plaintiff




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